Case 7:18-cv-00275-MFU-RSB Document 50 Filed 02/28/19 Page 1 of 1 Pageid#: 257



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 CASSID Y PRICE ,                                                                   CL K
 et al.y

       Plaintiffsy                                   Case N o.7:18-cv-00275

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 and
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                                                     United StatesDistrictJudge
       D efendants.

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       Thismatterisbeforethecout'tonthepaGes'SipulatbnofDismissal(ECFNo.49),
 pllrsuanttoRule41(a)(1)(A)(ii)oftheFederalRtzlesofCivilProcedure.Accotdingly,the
 courtORDERSthattheabove-capdonedmattetisDISM ISSED withptejudiceand
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